                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS
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                                           )
National Consumer Law Center              )
                                           )
              Plaintiffs,                  )
                                           )
       v.                                  )        Civil Action No.
                                          )
                                           )        1:19-cv-10739-FDS
                                           )
                                           )
 United States Department of Education     )
                                          )
              Defendant.                   )
__________________________________________)

                           SETTLEMENT ORDER OF DISMISSAL

SAYLOR, U.S.D.J

       The Court has been advised by the parties’ report that this action has settled.


IT IS ORDERED that this action is hereby dismissed without costs and without prejudice to the


right of any party upon good cause shown by 7/24/2020 to reopen the action if


settlement is not consummated.
                                                             By the Court,

                                                            /s/ Taylor Halley
06/24/2020                                                  Deputy Clerk
